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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

LEROY PERNELL et al.
       Plaintiffs,
                     v.                         Case No. 4:22-cv-304 (MW)
FLORIDA BOARD OF GOVERNORS OF
THE STATE UNIVERSITY SYSTEM et al.
       Defendants.


                     NOTICE OF WITHDRAWAL AS COUNSEL

      Pursuant to Local Rule 11.1(H)(1)(b), the undersigned hereby notifies the

Court and counsel of the withdrawal of Laura Moraff as counsel for Plaintiffs

Leroy Pernell, Dana Thompson Dorsey, Sharon Wright Austin, Shelley Park,

Jennifer Sandoval, Russell Almond, Marvin Dunn, and Johana Dauphin, with their

consent. Plaintiffs will remain represented by all remaining counsel who have

appeared in the case from the American Civil Liberties Union Foundation, the

American Civil Liberties Union Foundation of Florida, the NAACP Legal Defense

and Education Fund, Inc., and Ballard Spahr LLP.

 Dated: September 5, 2023                 / s/ Laura Moraff
                                          Laura Moraff (admitted pro hac vice)
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